          Case 4:19-cr-00251-BSM Document 61 Filed 10/16/20 Page 1 of 1
                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS
                                             Central Division

UNITED ST ATES OF AMERICA                                                                              u.s~,Jh5Qltf
                                                                                                 EASTERN DISTRICT ARKANSAS

        vs.                                NO. 4:19CR00251-2 BSM
                                                                                                            OCT 16 2020
Danny Joe Fields
                                                                                             ~~~E~~LERX
                                                                                                                                DEPCLERK

                      WAIVER OF APPEARANCE FOR ARRAIGNMENT
                         AND ENTRY OF PLEA OF NOT GUILTY
               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

        NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney.
hereby acknowlc:dges the following:

I)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
        information in this case. Defendant understands the nature and substance of the charges contai11•·d
        therein. the maximum penalties applicable thereto, and his/her Constitutional rights, after be· g
        advised of all of the above by his/her attorney.

2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
        for arraignment in open court on this accusation. Defendant further understands that, absent the
        present waiver, he/she will be so arraigned in open court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


        \D-\0-@C)
        Date
              10-10-20
        Date


                                           ORDER OF COURT

         The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
         plea of not guilty is entered for lhe defendant effective this date.

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         Date
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                                                        JudiciL
cc:     AII Counsel of Record
        U.S. Probation Office
        U.S. Marshals Service
        Presiding Magistrate Judge
